Case 2:05-cr-20177-SH|\/| Document 68 Filed 06/07/05 Page 1 of 2 Page|D 74

 

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IN THE uNrTED sTATEs DIsTRIcT coURT ~~ ~_Uo.
FoR THE wEsTERN DISTRICT oF TENNESSEE DSJUN

wEsTERN DIVISION "7 PH L=ZB

'€;?Y§QTFFSD ‘* EFOf 10

UNITED sTATEs oF AMERICA, iND OFT TN ngnH§

Plaintiff,
vs. CR. NO. 05~20177-06~Ma

HARRY L. BOYLAND,

-._/-_/-._/\__/~._/~._/~__/~__/\_/

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 6, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Harry Ih Boyland, appearing i11 person emmi with
retained counsel, Mr. Handel Durham.

With leave of the Courtr the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, September 9, 2005
at 2:00 p.m.

The defendant may remain on his present bond pending
sentencing.

ENTER.ED this the t°yk day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED sTATEs DISTRICT JUDGE

This document entered On the docket eat |n c()c)mpliance @
with Ru|e 55 and/or 32(b) FRCrP on

 

 

 

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Honorable Samuel Mays
US DISTRICT COURT

